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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                                   Greenbelt Division
__________________________________________
                                                 )
Kilmar Armando Abrego Garcia, et al.,            )
                                                 )
        Plaintiffs,                              )
                                                 )    Civil Action No. 8:25-cv-00951-AAQ
v.                                               )
                                                 )
Kristi Noem, et al.,                             )
                                                 )
        Defendants.                              )
_________________________________________ )

   EMERGENCY EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff Kilmar Armando Abrego Garcia, by counsel, pursuant to Fed. R. Civ. P. 65(b)(1),

hereby move this Court for an emergency ex parte temporary restraining order, restraining

Defendants from continuing to financially support his further detention in El Salvador and ordering

Defendants to request that the Government of El Salvador return him to their custody. In support

of this motion, Plaintiffs respectfully represent as follows:

       1.      As set forth in the Complaint [Dkt. No. 1] and evidence attached thereto, Plaintiff

Abrego Garcia has an order from an immigration judge prohibiting Defendants from removing

him to El Salvador. Defendants could have sought to rescind that order and reopen removal

proceedings, but they did not. Instead, Defendants removed Plaintiff Abrego Garcia to El Salvador,

with no legal process or observance of required legal procedures whatsoever.

       2.      Not only was Plaintiff Abrego Garcia removed to El Salvador in direct violation of

federal law, but to make matters worse, Defendants are paying the government of El Salvador a

sum of money to incarcerate him in the infamous CECOT prison, where he is being subjected to

torture and an imminent risk of death.



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       3.      This action was filed on Monday, March 24, 2025, less than 48 hours after

undersigned counsel was retained. This TRO request is filed the same day.

       4.      This Court admittedly has no jurisdiction over the Government of El Salvador and

cannot force that sovereign nation to release Plaintiff Abrego Garcia from its prison. But—because

that government is detaining Plaintiff at the direct request and pursuant to financial compensation

from defendants—this Court can order Defendants to immediately stop paying such compensation,

and to request that the Government of El Salvador return Plaintiff Abrego Garcia to their custody.

That is all Plaintiff asks for this Court order as emergency relief. If those efforts are unsuccessful,

the parties can brief any further remedial steps that may lie within this Court’s jurisdiction.

       5.      Plaintiffs are indigent and lack financial means to pay a TRO bond.

       6.      Undersigned counsel will email the complaint, as well as this TRO motion and the

Proposed Order, to his contacts at the US Attorney’s Office in Greenbelt.

       7.      WHEREFORE, Plaintiffs, by counsel, respectfully request that this Court

temporarily order Defendants to immediately stop paying compensation to the Government of El

Salvador for the detention of Plaintiff Abrego Garcia, and to request that the Government of El

Salvador return Plaintiff Abrego Garcia to their custody, for such time until a preliminary

injunction motion can be briefed and decided by this Court.

Respectfully submitted,

//s// Simon Sandoval-Moshenberg                                        Date: March 24, 2025
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